       Case 1:20-cr-00080-RJA-JJM Document 19 Filed 06/25/20 Page 1 of 2




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

              v.                                                        20-CR-80-A


COURTLAND RENFORD,

                              Defendant.




             NOTICE OF MOTION AND MOTION FOR REVIEW OF
           MAGISTRATE JUDGE’S DETERMINATION ON DETENTION



       The United States of America by and through its attorney, James P. Kennedy, Jr.,

United States Attorney for the Western District of New York, and Jeremiah E. Lenihan,

Assistant United States Attorney, pursuant to Title 18, United State Code, Section 3145(a)(1),

hereby files a Motion with the United States District Court in the Western District of New

York, for an Order revoking the Decision and Order entered orally by Magistrate Judge

Jeremiah J. McCarthy, on June 22, 2020 2020 under 20-CR-80-A; and the government further

moves for an Order staying said Order of the Magistrate Judge until such time as the Court

can hear and determine the government’s motion for review of the Magistrate Court’s

determination on detention.
       Case 1:20-cr-00080-RJA-JJM Document 19 Filed 06/25/20 Page 2 of 2




       IN SUPPORT THEREOF, the government sets forth a memorandum, incorporated

herein by reference.



   WHEREFORE, it is respectfully requested that the Court:

       1)     Stay the order of the Magistrate Court releasing the defendant until such

time as the District Court can hear and determine this motion;

       2)     Allow the government to supplement this motion due to the ongoing

nature of this investigation and receipt of transcripts; and

       3)     Revoke Magistrate Judge Jeremiah J. McCarthy’s June 22, 2020, oral

Decision and Order releasing the defendant from custody.



       DATED: Buffalo, New York, June 26, 2020.



                                                    JAMES P. KENNEDY, JR.
                                                    United States Attorney


                                            BY:     s/JEREMIAH E. LENIHAN
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